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19                               UNITED STATES DISTRICT COURT

20                              NORTHERN DISTRICT OF CALIFORNIA

21
     BGC, INC.,                                Case No. 3:22-cv-04801-JSC
22
                   Plaintiff,                  [PROPOSED] ORDER GRANTING JOINT
23                                             STIPULATION TO CONTINUE DISCOVERY
            vs.                                DEADLINES
24
     KIMBERLY BRYANT and DOE 1,                Judge:       Hon. Jacqueline Scott Corley
25
                   Defendants.                 Action Filed: August 22, 2022
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          [PROPOSED] ORDER GRANTING JOINT STIPULATION TO CONTINUE DISCOVERY DEADLINES
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 1                                       [PROPOSED] ORDER

 2          The Parties’ JOINT STIPULATION TO CONTINUE DISCOVERY DEADLINES came

 3   before this Court on May 10, 2023. The Court has reviewed and considered the parties’ Joint

 4   Stipulation, and good cause appearing, the parties’ Joint Stipulation is hereby GRANTED and the

 5   Discovery is continued by 60 days as follows:

 6          1.     Deadline to Move to Amend Pleadings: July 6, 2023

 7          2.     Fact Discovery Cut-Off: August 3, 2023;

 8          3.     Expert Witness Disclosures: August 29, 2023;

 9          4.     Rebuttal Expert Witness Disclosures: September 13, 2023;

10          5.     Expert Discovery Cutoff: September 29, 2023;

11          6.     Deadline for Hearing Dispositive Motions: November 3, 2023;

12          IT IS HEREBY ORDERED.

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14           May 11, 2023
     Dated: ___________________

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16                                       THE HONORABLE JACQUELINE SCOTT CORLEY
                                         U.S. District Judge
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          [PROPOSED] ORDER GRANTING JOINT STIPULATION TO CONTINUE DISCOVERY DEADLINES
